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             IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF GEORGIA
                        MACON DIVISION

THE UNITED STATES OF                    *
AMERICA,                                *
                                        *
      Plaintiff,                        *
                                        *
      vs.                               * Civil Action No.: 5:17-CV-501
                                        *
JOHN W. DAWSON, JR.,                    *
GARY A. DAWSON, and                     *
RODNEY P. DAWSON,                       *
                                        *
      Defendants.                       *

   COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

      COMES NOW, The United States of America (hereinafter

"America") as Plaintiff in the above captioned case and by and through the

undersigned United States Attorney for the Middle District of Georgia states

its complaint for declaratory and injunctive relief against the Defendants as

follows:

                      JURISDICTION AND VENUE

      1.     In this case America acts as Plaintiff to enforce duties, rights,

and entitlements exercised under federal law and jurisdiction is therefore

proper under 28 U.S.C. §§ 1331 and 1345.

      2.     The Middle Judicial District of Georgia and its Macon Division

therein is the proper venue of this action by virtue of the following:

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             (a) The Defendants above-named are residents of Pulaski

County, Georgia, within this District and Division;

             (b) The acts and omissions of the Defendants hereinafter

described occurred within this District and Division; and

             (c) The property on which America seeks to enforce the terms

of a lease is in Pulaski County, Georgia, within this District and Division.

                       RELEVANT BACKGROUND

      3.     The Federal Aviation Administration (FAA) is a department or

component of an agency of America, the Federal Transportation

Administration. 49 U.S.C. § 106.

      4.     As pertinent hereto, the FAA has sole authority as and for

America to regulate the use of its airspace for its efficient use and the safety

of aircraft using the airspace including regulation of all aspects of aviation

navigation such as radio navigation systems and other navigation aids.

49 U.S.C. §§ 106(g), 40103–40107, 40113, 44502, 44701–44702, 44708–

44709, 44719, 44721–44722, and 46308; and 14 C.F.R. Part 170.

      5.     In furtherance of the accomplishment of its flight safety

mission, the FAA has established and operated a comprehensive network of

radio navigation aids which includes a Very High Frequency Omni Range

facility (VOR), a Distance Measuring Equipment (DME), and a Tactical Air


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Navigation (TACAN) in Pulaski County, Georgia (collectively hereinafter

the "VNA VOR").

      6.     A VOR is a navigational aid that operates in the very high

frequency band of the radio spectrum that radiates uniformly in azimuth

(bearing locations). Specifically, a VOR facility operates between 108 MHz

and 118 MHz and provides azimuth guidance to the pilot in the form of a

cockpit visual display.

      7.     This VOR is a conventional VOR with a frequency set at 116.5

MHZ and a Magnetic Variation of one (1) degree East. This VOR was

modeled with standard Twenty-Six (26) feet radius counterpoise at a height

of Twelve (12) feet. This VOR has been identified to be retained as part of

the VOR Minimum Operating Network (MON).

      8.     The principle operation of a VOR facility is bearing

measurement by phase components. This means that the transmitter on the

ground produces and transmits two (2) signals which make it possible for the

receiver (the aircraft) to determine its position in relation to the ground

station by comparing the phases of the two (2) signals. The VOR utilizes a

technique called space modulation. There are two (2) separate signals that

radiate independently from the VOR and then are combined when received

by the aircraft receiver. This technique of space modulation is susceptible to


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interference since each radiated signal component may take a slightly

different path to the receiver. Transmission of VOR signals can be affected

by Reflection or Scattering. Reflection occurs when radio frequency waves

reflect off objects such as metal or glass. Scattering occurs when the radio

frequency waves hit an uneven surface such as a rough or uneven ground

plane which may cause the radio frequency energy to reflect in many

directions.   These effects can cause the signals emitted from the VOR

ground station to combine in space and when received by the airborne

equipment, the combination of two (2) different modulating signals yields a

resultant signal to the aircraft containing false bearing information to the

aircraft receiver.

       9.     Distance Measuring Equipment (DME) is a terminal area or en

route navigation system consisting of a transponder which automatically

transmits encoded signals in response to airborne equipment interrogations

providing the pilot with direct readout indication of aircraft distance from

the identified DME facility.

       10.    Tactical Air Navigation (TACAN) is a system used as a UHF

transponder facility in the en route navigation system which transmits a

pulse train providing distance and azimuth information to an aircraft relative

to facility location.


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      11.    The VOR was established on land leased from Slade Farms,

LLC by lease executed by the Lessor on November 6, 2012, and on behalf of

America as Lessee on November 13, 2012, and recorded in the property

records of the Superior Court of Pulaski County, Georgia on March 5, 2013,

in Deed Book 281, Pages 606-17 (hereinafter the "Lease"). The Lease

accompanies this Complaint as Attachment A and it is incorporated herein

by reference thereto just as if it were restated herein verbatim. In the said

Superior Court property records there is a notation penned onto the recorded

lease directing reference to Deed Book 299, Pages 385-86.

      12.    The property of Slade Farms, LLC, including the part which

was the subject of the Lease, was sold by it to the Defendants on June 30,

2016, by Warranty Deed recorded on that same date in the property records

of the Superior Court of Pulaski County, Georgia in Deed Book 299, Pages

380-81.

      13.    Its Deed Book 281, Pages 606-17 recording in the Pulaski

County, Georgia property records was legal notice to the world, including

the Defendants, that the Lease was binding upon and enforceable against

succeeding owners of the leased land. Moreover, apparently

contemporaneously with the execution and transfer of the aforementioned


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Deed Book 299, Page 380-81 Warranty Deed, the Lease was assigned to the

Defendants by Assignment dated June 30, 2016, and recorded that same date

in the property records of the Superior Court of Pulaski County, Georgia in

Deed Book 299, Pages 385-86, which Assignment was further

memorialized by execution by each of the Defendants of an

"Acknowledgment of Assignee" thereon.

                         CRITICAL TERMS OF LEASE

      14.    Coming now to the issues in the case, America first discusses

some of the characteristics of the VNA VOR and why terms of the Lease

were critical thereto.

      15.    The VNA VOR is a part of a radio navigation system for

aircraft, enabling aircraft with a receiving unit to determine their position

and stay on course by receiving radio signals transmitted by the VOR as a

part of a network of fixed ground radio beacons. Transmission of the signals

to the aircraft is susceptible to interference such as when the radio waves

encounter reflective objects or conditions, or objects or conditions which

scatter the signal. The resultant loss of integrity of the signal received by the

airborne receiver yields false bearing and hence false location information.

      16.    It is therefore imperative that a VOR be situated in such a way

and in such a place as to assure that the radio signals emitted do not


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encounter interference of the kind that yields false bearing and location

information.

       17.     In keeping with the aforementioned principles and in

accordance with Siting Criteria guidance adopted by the FAA, the Lease

requires that there be no obstructions within one thousand (1,000) feet of the

VOR radio signal transmitter antenna, meaning that a circle with a radius of

one thousand feet from the antenna will remain clear of anything considered

by the FAA to interfere with the operation and proper functioning of the

VOR.

    VIOLATION OF THE LEASE BY THE DEFENDANTS AND
   INTERFERENCE WITH THE PERFORMANCE BY AMERICA
      OF THE GOVERNMENTAL FUNCTION OF THE FAA

       18.     Notwithstanding that the Lease was binding upon and

enforceable against the Defendants they put in place an irrigation system

within One Thousand (1,000) feet of the VNA VOR antenna. The irrigation

system consists of a Twelve Hundred (1,200) foot metal structure. One end

of the irrigation system is attached to a concrete pad with a pyramid shaped

steel structure securing it in place. The irrigation system has a center pivot

overhead sprinkler system consisting of several segments supported by

trusses and interspersed between wheeled towers which move in a circular

pattern discharging water fed through piping along the structure from the


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pivot point at the center of the circle. That piping is approximately six (6)

inches in diameter.

      19.    The United States, by and through the FAA, determined that the

Defendants' above-ground, center pivot irrigation system and its components

within a 1,000 feet radius of the VNA VOR interferes with its proper

functioning. The Defendants' irrigation system so degraded the signal from

the VNA VOR antenna that the VOR monitoring system shut the facility

down on February 9, 2017, to avoid the transmission of erroneous signals to

aircraft from which erroneous location information of the plane would have

resulted. The VNA VOR has not functioned since that date.

      20.    "A person shall be fined under title 18, imprisoned for not more

than 5 years, or both, if the person - - knowingly interferes with the

operation of a true light or signal [used at an air navigation facility]." 49

U.S.C. § 49308(3).

               EFFECTS OF THE VIOLATION OF THE
            LEASE - VNA VOR HAS BEEN SHUT DOWN AND
             FLIGHT SAFETY HAS BEEN COMPROMISED

      21.    The VNA VOR navigational aid outage has a significant effect

on aircraft otherwise relying upon its input, instrument flight procedures and

air traffic control. The VOR outage impacts nine (9) airports and the

procedures that support the operations at these facilities. The lack of access


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to the equipment’s capabilities removes the availability of the various

procedures at the airports this equipment serves. When procedures are

limited or not authorized, pilots must change their routes and destinations to

other airports. From the FAA’s data, from October 2016 through March

2017, approximately 1,315 flights utilized the airways that are serviced by

the VNA VOR.

      22.    Generally, there are areas in the sky into which non-military

traffic should not fly, and use of the VNA VOR and its kindred radio

navigation stations define routes or areas for flights, called Victor Route

Airways, to avoid these Military Operation Areas (MOA's). The airway

navigation system was designed to allow pilots to fly outside active MOA’s.

Under radar conditions, aircraft flying on the Victor Routes that navigate

around the MOA’s and utilize the VOR must be radar vectored around the

MOA’s by Air Traffic Control. The need for aircraft to now require an

increased focus and control by air traffic significantly adds to controllers’

workload. The nearness of the VNA VOR to the United States Air Force

Base in Houston County, Georgia, as well as the relatively heavy volume

(compared to some other states and geographical areas) of both fixed and

rotary wing military traffic which can come within its orbit makes these

considerations of particular import.


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      23.    As aforementioned, the VAN VOR has been non-operational

since February, 2017. Of necessity, the FAA has shifted the VNA VOR

workload to other navigational aids. Doing this collaterally unduly burdens

those facilities, pilots using the affected National Airspace System (NAS)

and the air traffic controllers working the airspace in this area and it creates

an unnecessary risk to the traveling public. This VNA VOR is also used by

the military. The FAA’s primary mission is the safe and efficient flow of the

flying public which requires the utilization of its systems, including the

operation of the VNA VOR. The FAA’s mission is being negatively

affected by the Defendants’ actions and the FAA is requesting swift and

final action against him. The potential for catastrophic harm is great.

Because the workload of the VNA VOR is currently being absorbed by other

navigational aids in the FAA’s contingency plan, should any of those

facilities suffer from a shutdown, the adverse effect would be great.

                             RELIEF SOUGHT

      24.    On the basis of the actual controversy outlined in the foregoing,

America seeks a judgment of the Court under 29 U.S.C. § 2201 and Federal

Rule of Civil Procedure 57 declaring the rights and legal relations of the

parties arising out of the Lease, to wit; that the Defendants are in violation of




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the Lease and no obstruction of the kind and nature erected by the

Defendants may exist within 1,000 feet of the VNA VOR.

       25.    America invokes that provision of Fed. R. Civ. P. 57 under

which the Court may order a speedy hearing of a declaratory judgment

action.

       26.    On the same considerations America seeks a preliminary and

permanent injunction under Federal Rule of Civil Procedure 65 requiring the

Defendants to remove the offending irrigation system and any components

thereof from an area defined by a circle with a radius of 1,000 feet from the

VOR tower and barring re-introduction of any such obstruction during the

term of the Lease.

       27.    The United States would prefer an immediate hearing on its

entitlement to a preliminary injunction and upon advice of counsel, asks in

accordance with Fed. R. Civ. P. 65(a)(2) that the Court advance the trial on

the merits and consolidate it with the hearing for preliminary injunction,

permitting entry of a final declaratory judgment and a permanent injunction

incident to the trial.

       WHEREFORE, the United States prays that process and summons

issue against the Defendants, that the Court set a speedy hearing under Fed.

R. Civ. P. 57 consolidating it with the hearing on the United States' request


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for a permanent injunction, that the United States have the declaration of the

Court enforced by permanent injunction that no obstruction of any kind or

nature is allowed within 1,000 feet of the VNA VOR tower, that the Court's

permanent injunction require removal instanter of any obstruction within

1,000 feet of the VNA VOR tower, that the Court's injunction bar

introduction during the remaining term of the Lease of any other obstruction

within 1,000 feet of the VNA VOR tower, and that it have such other and

further relief as to the Court may seem just.

                                 CHARLES E. PEELER
                                 UNITED STATES ATTORNEY
                                 MIDDLE DISTRICT OF GEORGIA
                                 ATTORNEY FOR THE UNITED STATES



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